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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CITY OF FORT LAUDERDALE POLICE

AND FIREFIGHTERS’ RETIREMENT
SYSTEM, Individually and on Behalf
of All Others Similarly Situated,

Plaintiff,

Vv. CIVIL ACTION
NO. 22-11220-WGY
PEGASYSTEMS INC., ALAN TREFLER,

and KENNETH STILLWELL,

Defendants.

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YOUNG, D.J. July 24, 2023
MEMORANDUM AND ORDER

I. INTRODUCTION

The Lead Plaintiff, City of Fort Lauderdale Police and
Firefighters’ Retirement System (“Fort Lauderdale”) brings this
securities fraud putative class action against the Defendants
Pegasystems Inc. (“Pega”), Alan Trefler (“Trefler”), and Kenneth
Stillwell (“Stilwell”).1 This lawsuit comes on the heels of the

decision in Appian Corporation v. Pegasystem Inc., et al., Civil

Action No. 2020-07216 (Circuit Court of Fairfax County,
Virginia) (the “Virginia Action”), which ordered Pega to pay

Appian Corporation (“Appian”) over $2,000,000,000.00 for

1 Pega, Trefler, and Stillwell are collectively referred to
as the “Defendants.”
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willfully and maliciously misappropriating Appian’s trade
secrets. The core of Fort Lauderdale’s case is that the
Defendants -- despite knowingly having engaged in the conduct
underlying the Virginia Action -- failed to disclose that
litigation, falsely reassured investors that Appian’s claims
were “without merit,” and misleadingly promised never to
misappropriate trade secrets. Lead Pls.’ Consolidated Amended
Compl. for Violations of the Federal Securities Laws (“Compl.”),
ECF No. 61, G7 1-32.

Pega moves to dismiss for failure to state a claim. Defs.’
Mot. to Dismiss the Consolidated Amended Compl. (“Defs.’ Mot.”),
ECF No. 64. The grounds alleged are failure to plead facts with
particularity establishing (1) that any of the challenged
statements are false or misleading, (2) a strong inference of
scienter, and (3) loss causation. Defs.’ Mot. 1.

After careful evaluation, this Court DENIED Pega’s
motion to dismiss with respect to the allegations concerning
defendants Pega and Trefler. Based on the factual allegations
in the complaint, the most compelling inference is that Trefler
was aware of, participated in, and directed Pega’s corporate
espionage against Appian. Compl. @FW 33-119, 197-241. In
addition, Pega did not discipline the authors of the conspiracy.
Id. 97 99. Rather, it encouraged and rewarded their actions with

cash bonuses. Id. G 104. Therefore, Pega deceived investors

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when it promised them to “(njever use illegal or questionable
means to acquire a competitor’s trade secrets or other
confidential information, such as .. . seeking confidential
information from a new employee who recently worked for a
competitor, or misrepresenting your identity in hopes of
obtaining confidential information.” Id. 7 154. Moreover, Pega
and Trefler misled investors when they reassured them, on
February 16, 2022, that Appian’s claims against Pega were
“without merit.” Id. 4 145. Pega’s and Trefler’s misstatements
are also causally connected to the significant decline in the
value of Pega’s stock on February 17 and May 10-11, 2022. Id. W
244. Therefore, this action can proceed.

Regarding defendant Stillwell, however, the allegations of
scienter are lacking. Accordingly, Pega’s motion to dismiss is

GRANTED WITHOUT PREJUDICE with respect to defendant Stilwell.

II. PROCEDURAL HISTORY

On May 19, 2022, Fort Lauderdale, individually and on
behalf of others similarly situated, filed a class action
complaint for violation of the Securities Exchange Act of 1934
against Pega, Trefler, and Stillwell pursuant to Federal Rules
of Civil Procedure 23(a) and (b)(3). Complaint (“Orig.
Compl.”), ECF No. 1. On October 18, 2022, Fort Lauderdale filed

a consolidated class action complaint (“complaint”). Compl.

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The putative class is comprised of investors who purchased or
otherwise acquired Pega common stock between June 16, 2020, and
May 9, 2022, inclusive (the “Class Period”). Id. @ 1. The
complaint contains two counts alleging violations of Section
10(b) of the Exchange Act, 15 U.S.C. Section 78j(b) and Rule
10b-5 promulgated thereunder, 17 Code of Federal Regulations
Section 240.10b-5 (count 1), and violations of Section 20(A) of
the Exchange Act, 15 U.S.C. Section 78t{a) (count 2). Id. Wf
259-278.

On December 19, 2022, the Defendants filed a motion to
dismiss both counts of the complaint. Defs.’ Mot. The parties
have fully briefed the issue. Defs.’ Mem. in Supp. of Their
Mot. to Dismiss the Consolidated Amended Compl. (“Defs.’ Mem.”),
ECF No. 65; Lead Pls.’ Mem. of Law in Opp’n to Defs.’ Mot. to
Dismiss the Consolidated Amended Compl. (“Pls.’ Opp’n”), ECF No.
71; Defs.’ Reply Mem. in Supp. of Their Mot. to Dismiss the
Consolidated Amended Compl. (“Defs.’ Reply”), ECF No. 72. On
May 17, 2023, this Court heard oral arguments and denied Pega’s
motion to dismiss with respect to defendants Pega and Trefler.
This memorandum explains that ruling. Regarding the defendant
Stillwell, Pega’s motion was taken under advisement. Hlectronic
Clerk’s Notes, ECF No. 76.

This Court has jurisdiction over the action. Subject

matter jurisdiction is proper pursuant to 28 U.S.C. Section 1331

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and Section 27 of the Exchange Act, 15 U.S.C. Section 78a and 28
U.S.C. Section 1331. The defendants have not challenged this
Court’s personal jurisdiction over them. Venue is proper in
this judicial district pursuant to Section 27 of the Exchange

Act, 15 U.S.C. Section 78aa and 28 U.S.C. Section 1931 (b).

IIIT. FACTS ALLEGED

Pega develops “low code” software solutions that allow
customers to build applications for their specific business
needs. Compl. 9 2. Appian provides a similar product and is
one of Pega’s primary competitors. Id.

Since 2012, Pega’s senior executives and employees
participated in a conspiracy to misappropriate Appian trade
secrets. Id. 4 3. The conspiracy took place in two distinct
phases: “Project Crush” spanning 2012 to 2014, and “Teardown”
taking place between 2019 and 2022. Id. 9@ 5, 9, 95. Pega
utilized the misappropriated information to enhance its products
and win business over Appian. Id. @ 7.

A. “Project Crush”

Under the internal codename “Project Crush,” Pega hired
Youyong Zou (“Zou”) to spy on Appian. Id. 7 4. Zou was an
employee of a U.S. government contractor with open access to
Appian’s software and documentation. Id. Over the course of

more than two years, Zou attended numerous meetings with Pega’s
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Management -- including a meeting on January 29, 2013, at Pega’s
headquarters attended by Trefler and other executives. Id. 9
44, 56. During these meetings, Zou showed Pega how to use
Appian’s platform and answered Pega’s “detailed technical
questions” about Appian’s software. Id. WI 43-44, 62-64. In
addition, Zou recorded several hours of video content of his use
of Appian’s platform and downloaded large volumes of Appian’s
documentation for Pega. Id. 991 6, 43, 46, 63-64. The
misappropriated information widely circulated across Pega,
including to over 200 executives and employees. Id. @ 45.

Pega was aware of the illicit nature of its activities and
attempted to conceal them. For instance, Pega used a middleman,
KForce, to retain and pay Zou. Id. 91 41. Pega told KForce it
needed “an Appian Developer” with “several years of experience
working specifically with Appian,” and that “[a]ccess to the
Appian BPM tool is a must.” Id. Pega stressed to KForce that
the developer could not be “loyal” to Appian because Pega did
not want its scheme “getting back to Appian.” Id. Moreover,
Pega altered internal documents to “remove Youyong’s name,”
requiring its employees to refer to Zou using the pseudonym
“Matt”: “(WJle’re going to call him Matt (so that he isn’t
‘outed’ as our spy);” “[m]y lips are sealed . . . {Zou] will now
forever be known as Matt.” Id. 91 54. Also, Pega asked its

employees not to divulge its use of Appian’s trade secrets. For

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example, Ben Baril sent an email to various Pega employees that
“included links to some videos” providing “insight into some of
the woes of creating applications in Appian,” cautioning: the

“videos are STRICTLY INTERNAL.” Id. { 101 (emphasis in

original).

Project Crush involved Pega’s CEO, Alan Trefler; Pega’s
Chief Product Officer (“CPO”), Kerim Akgonul (“Akgonul”); Chief
Technology Officer (“CTO”), Don Schuerman (“Schuerman”); Chief
of Clients and Markets (“CMM”), Leon Trefler (defendant
Trefler’s brother); Director of Product Marketing, John Petronio
(“Petronio”); Director of the office of the CTO (Ben
Baril(“Baril”); Head of Product Marketing, Douglas Kim (“Kim”);
and Vice President of Product Management, Steve Bixby (“Bixby”).
Id. 47 8, 53-66.

B. Appian’s “Teardown”

When Zou lost access to Appian’s software by “switch[ing]
to another project” with his employer, Pega concocted a second
“teardown” of Appian. Id. @ 43. Teardown was supposed to be an
operation even “broader [in] scope” than “Project Crush.” Id.
GI 67-8. Initially, Pega again considered using an outsider
similar to Project Crush for this new espionage campaign. Id.
68. Trefler, Schuerman, Leon Trefler, Akgonul, Bixby, and other
executives discussed a “consulting engagement to deep dive

Appian’s product, training, methodology (all aspects of the

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client journey).” Id. Despite its efforts, however, Pega could
not find a contractor willing to accommodate its needs. Id.

Accordingly, Pega -- under Trefler’s direction -- decided
to spy on Appian itself. To do so, Pega’s employees would use
front or fake companies to pose as Appian customers to
infiltrate Appian’s platform. Id. F9 81-99. For example, Baril
recruited Le (a Solutions Consulting Manager at Pega), to use a
business space rental company Le co-owned with his wife to gain
access to Appian. Pega then proceeded to use Le’s company’s
login credentials to “shoo[t] a ton of footage” of Appian’s
software “to steal 4 deals from Appian in 04 and Q1 2020.” Id.
q1 84-6. This strategy was replicated with several other Pega
employees, including Michael Fine (“Fine”), a Solutions
Consulting Manager at Pega; Peter Bessman (“Bessman”), a Pega
Solutions Engineer; Vijay Krishna Potluri (“Potluri”), a
Director of Case Management at Pega in India and member of
Pega’s Product Management group); Arun Kumar Sarada (“Sarada”, a
Product Manager; Keith Fairbrother (“Fairbrother”), a member of
Pega’s “go-to-market strategy group”; Vijay Vaddem (“Vaddem”), a
Senior Product Manager at Pega; Eric Davis (“Davis”), a
Solutions Consultant at Pega; and Baril himself. Id. WI 82-96.

Pega was aware of the illicit nature of its activities. In
his correspondence with Schuerman and others, Baril often

referred to the employees referred above as “spies.” Id. QW 73-

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4 (e.g., Baril boasted to Schuerman and Gill: “My spies have
managed to get me another 15 day instance”). Baril himself
doubted the legality of his conduct. On October 17, 2019, he
asked Schuerman “[w]ho can I ping about legality of using

[Appian’s] system?” Id. 7 79. Instead of directing Baril to

seek “guidance as to the propriety of [Pega’s] actions” -- as
Pega’s Code of Conduct required -- Schuerman disregarded Baril’s
concerns and responded: “{H]ow much more do you need to

do/capture?” Id. @ 80.

Moreover, the participants to the conspiracy did not
receive “any formal disciplinary consequences.” Id. 7 99.
Rather, Pega rewarded their actions with cash bonuses. Id. 9
104. Specifically, Pega awarded extra compensation to employees
for completing management-based objectives (“MBO”), which
included presenting information regarding competing platforms.
Id. For example, Bessman internally circulated a presentation
on Appian as “homework or proof to receive his MBO credit.” Id.
Fine and Le both received cash bonuses for their assistance in
spying on Appian. Id.

C. The Virginia Action

In early 2020, two former Pega employees, Petronio and
Bearden disclosed evidence of Pega’s scheme to Appian. Shortly
thereafter, on May 29, 2020, Appian filed the Virginia Action

against Pega. Id. 99% 11-13, 113. The lawsuit alleged that:

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Pegasystems has engaged in an unlawful campaign of
corporate espionage against Appian .. . [i]nvolving
personnel at Pegasystems up to and including

Pegasystems' CEO and Founder, Alan Trefler, and other

high-ranking Pegasystems executives, and assisted at

least by Zou, Pegasystems’ unlawful schemes have

involved stealing Appian’s trade secrets and

confidential information and then using them to damage

Appian’s business and reputation, and to steal

Appian’s customers and potential customers.

Declaration Of Daniel W. Halston, ECF No. 66, Exhibit 14, 1.
Appian initially sought damages in the amount of $90,000,000.00,
punitive damages, treble damages, and injunctive relief. Compl.
gq 175.

Between May 29, 2020, and February 16, 2022, Pega filed
several 10-Q and 10-K forms with the Securities and Exchange
Commission (“S.E.C.”) which made no express mention of the
Virginia Action. Id. 91 45-8. Pega, however, reported that
“[wle have received, and may in the future receive, notices that
claim we have misappropriated, misused, or infringed other
parties’ intellectual property rights.” Id. 7 136.

On February 11, 2022, Appian amended its complaint in the
Virginia Action, increasing its damages claim to approximately
$3,000,000,000.00. Id. 4 145. A few days later, on February
16, 2022, Pega filed its Report on Form 10-K for fiscal year
2021, which made express and detailed mention of the Virginia

Action. Id. On the same occasion, Pega stated that Appian’s

claims “are without merit,” Pega has “strong defenses to these

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claims,” and that “any alleged damages claimed by Appian are not
supported by the necessary legal standard.” Id. The following
day, on February 17, 2022, Pega’s stock dropped approximately
15.62%. Id. @ 243.

After a seven-week trial, on Monday, May 9, 2022, the jury
returned a unanimous verdict in favor of Appian. Id. G1 116-
117. The jury concluded Pega and Zou had willfully and
maliciously misappropriated Appian’s trade secrets in violation
of the Virginia Uniform Trade Secrets Act (“VUTSA”) and Virginia
Computer Crimes Act (“VCCA”). The verdict awarded compensatory
damages of $2,036,860,045 as against Pega and $5,000 as against
Zou. Id. W122, 117, 222. In the following two days, Pega’s
share price dropped approximately 28%. Id. @ 244.

Pega moved to set aside the verdict. That motion, however,
was denied, and the court entered judgment in favor of Appian
for the full amount. Id. 4 119. The court also awarded nearly
$24,000,000 in attorney’s fees and costs, and post-judgment

interest of approximately $122,000,000 per year. Id.

IV. ANALYSIS
Pega moves to dismiss for failure to state a claim alleging
that Fort Lauderdale has not pled facts with particularity

establishing (1) that any of the challenged statements are false
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or misleading, (2) a strong inference of scienter, and (3) loss
causation. Defs.’ Mot. 1.

As to defendants Pega and Trefler, Pega’s arguments miss
the mark. The facts alleged in the complaint raise a strong
inference that Trefler was aware of, involved in, and directed
Pega’s corporate espionage against Appian. Moreover, Trefler
knew or was reckless in not knowing that Pega’s promise not to
misappropriate trade secrets and his assurance that Appian’s
claims were “without merit” posed a substantial danger to
mislead investors. Both assurances were also false and
misleading according to the standard set forth in the Private
Securities Litigation Reform Act (“PSLRA”), as well as causally
connected to the drop in value of Pega stock in February and May
2022. Therefore, Pega’s motion to dismiss is denied as to Pega
and Trefler and the core of Fort Lauderdale’s case is allowed to
proceed.

As to defendant Stillwell, Pega is correct. The absence of
sufficient factual allegations as to Stillwell’s knowledge of or
involvement in the conspiracy prevents a finding of scienter.

As a result, Pega’s motion with respect to defendant Stillwell
is granted without prejudice.

A. Pleading Standard

To withstand a motion to dismiss, a complaint must “state a

claim upon which relief can be granted... .” Fed. R. Civ. P.

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12(b) (6). The complaint must include sufficient factual
allegations that, accepted as true, “state a claim to relief

that is plausible on its face.” Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 570 (2007). Courts “draw every reasonable

inference” in favor of the plaintiff, Berezin v. Regency Sav.

Bank, 234 F.3d 68, 70 (lst Cir. 2000), but they disregard
statements that “merely offer legal conclusions couched as fact
or threadbare recitals of the elements of a cause of action,”

Ocasio-Hernandez v. Fortufio-Burset, 640 F.3d 1, 12 (1st Cir.

2011) (brackets, ellipsis, and quotations omitted).

For a viable cause of action under Section 10(b) of the
Securities Exchange Act of 1934, Plaintiffs must plead factual
allegations that plausibly could give rise to the following two
elements: (1) false or misleading statements; (2) a strong
inference of scienter (there are also three other required
elements which the Defendants do not challenge in their motion
to dismiss).

B. Scienter

To be actionable under the PSLRA, a statement must have

been made with the requisite scienter. See ACA Fin. Guar. Corp.

v. Advest, Inc., 512 F.3d 46 (lst Cir. 2008). Congress has a

heightened pleading standard for scienter allegations in private

enforcement actions. Securities & Exch. Comm’n v. Sharp, 2022

WL 4085676 (D. Mass. 2022) (citing Merrill Lynch, Pierce, Fenner

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& Smith, Inc. v. Dabit, 547 U.S. 71, 81 (2006}}. The reasons

underlying this important legislative intervention have been
aptly described by my colleague Judge Lindsay:

In particular, Congress sought to reform private
securities litigation to discourage unmeritorious
class actions, including actions brought because of a
decline in stock prices. The aims of the PSLRA are
three-fold: ‘(1) to encourage the voluntary disclosure
of information by corporate issuers; (2) to empower
investors so that they —- not their lawyers -—
exercise primary control over private securities
litigation; and (3) to encourage plaintiffs' lawyers
to pursue valid claims and Defendants to fight abusive
claims.’ The PSLRA seeks to curtail the filing of
abusive lawsuits at the pleading stage of litigation
by establishing uniform and stringent pleading
requirements.

In re Galileo Corp. S’holders Litig., 127 F. Supp. 2d 251, 260

(D. Mass. 2001) (Lindsay, J.) (quoting S. Rep No. 104-98 at 4,
15).
Specifically, the pleaded facts must give rise to a “strong

inference” of scienter. Tellabs, Inc. v. Makor Issues & Rights,

Ltd., 551 U.S. 308, 322 (2007). This means that the complaint
must “with respect to each act or omission . . . state with

particularity facts giving rise to a strong inference that the
defendant acted with the required state of mind.” 15 U.S.C. §

78u-4 (b) (2) (A); see also In re Bos. Sci. Corp. Sec. Litig., 686

F.3d 21, 30 (lst Cir. 2012). “It does not suffice that a
reasonable factfinder plausibly could infer from the complaint's

allegations the requisite state of mind.” Tellabs, 551 U.S. at

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314. Instead, the inference of scienter must be “cogent and at
least as compelling as any other opposing inference of
nonfraudulent intent.” Id.

A. The Facts Alleged Establish That Pega and Trefler
Acted with Scienter

A crucial question in this case is whether defendant
Trefler, Pega’s CEO, was aware of Pega’s conspiracy to
misappropriate Appian’s trade secrets -- a fact that Pega
vehemently rejects. Defs.’ Mem. 21-26; Defs.’ Reply 15-17.
Despite Pega’s protestations, the facts alleged suffice to
support a strong inference that Trefler was aware of, involved
in, and directed Pega’s corporate espionage against Appian.

Trefler was personally involved in Project Crush. For
example, Trefler personally met with Zou at Pega’s headquarters
on January 29, 2013, where Zou accessed Appian’s platform and
provided a demonstration. Compl. 4 56. As Petronio testified,
“Alan Trefler [was] at the meeting with . . . Zou” and others on
January 29, 2013, during which “Alan was sitting at the head of
the table, facing a screen” while Zou was “projecting, showing
how to build an application in Appian.” Id. Contemporaneous
evidence corroborates Petronio’s testimony. The day after the
meeting with Zou, on January 30, 2013, Petronio emailed Trefler

to “(t]hank {him] for [his] time yesterday,” and to advise

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Trefler that Pega was “updating the competitive brief, attack
plan, and Appian scalability whitepaper.” Id.

Pega attempts to rebut the relevance of this episode to no
avail. For Pega, the January 29 meeting falls short of
establishing scienter because Fort Lauderdale “allege[s] no
facts indicating that Mr. Trefler understood that the
presentation contained misappropriated trade secrets.” Defs.’
Reply 16. This is not the case. According to the complaint,
“it was a known thing that Appian . . . was very black box about
giving out trials . . . [i]t was common [knowledge] that it’s
impossible to get an Appian trial.” Compl. @ 39. Trefler
himself was cautioned of this. In an internal email,? Baril
explained to Trefler that “Appian is very tightly controlled
about who has access to their trial environments.” Id. @ 75.

In fact, Appian’s “Terms and Conditions” prohibited the “use” of

“et

Appian’s service by “competitor[s],” as well as users
“provid[ing] information about the [Appian] Cloud Offering to a
competitor of Appian.” Id. @ 39. Trefler also admitted that
Pega’s hiring of Zou was “[nJot appropriate.” Id. @ 217. (“Q.

And was it appropriate? A. I don’t think it was appropriate for

him to hire Zou.”).3 The most compelling inference is that

2 The email was dated October 1, 2019 -- well before any
alleged misstatement.

3 Pega attempts to discount the evidentiary value of this
admission by arguing that “[i]n the portion of the deposition

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Trefler was aware and involved in Pega’s “inappropriate” scheme
to misappropriate Appian’s trade secrets through Zou -- i.e.,
Project Crush.

Trefler also personally directed Teardown. In an internal
email dated September 21, 2019, Trefler told Baril -- the
principal executor of Teardown -- that he was “thrilled to have
you in this role,” and reminded him that he wanted a “write up
[o]n everything we think is an ap[p]ian weakness,” and wanted
“to spend an hour on a[n Appian] demo.” Id. 97 71. Pega

attempts to downplay the significance of this email pointing to

transcript excluded by Plaintiffs, Mr. Trefler explains that
working with Mr. Zou was “inappropriate” only because Mr.
Petronio, and by implication Kforce, failed to properly vet Mr.
Zou for the assignment.” Defs.’ Mem. 25 citing Declaration of
Daniel W. Halston (“Trefler’s Depo.”), ECF 66, Exhibit 20,
282:21-283:4 ("Q. And what do you think was inappropriate about
{hiring Mr. Zou]? A. Well, [Mr. Petronio] didn’t check that Zou
was fully cleared to do the work. Q. Was he fully cleared? A.
Well, from what I’ve seen, there’s a contention about what he’s
allowed to do, and neither he nor Kforce had brought that to
light at the time.”). The portion of the transcripts Pega
offers in support of its contention, however, does not so
clearly support Pega’s argument as to fully discount the
evidentiary value of Trefler’s admission. Trefler’s Depo.
285:3-13 (“Q. But you also do concede, don't you, that
Pegasystems should not have hired Mr. Zou to do this work in the
way that it did? A. I think that the hiring and the progression
should have been different. Q. It shouldn't have happened,
correct? MR. FRANK: Objection. That's not what he said. THE
WITNESS: No, it shouldn’t have been different. I'm not sure what
it was that shouldn’t have happened.”). What was the
“progression” Trefler was referring to if not Zou’s assistance
to Pega in spying on Appian? Given the uncertainty about the
exact scope of Trefler’s testimony, this Court adopts, as it
must at this stage, the interpretation most favorable to the
plaintiff.

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Trefler’s testimony that his request could have been satisfied
by reviewing publicly available information. Defs.’ Mem. 24.
The context surrounding the aftermath of that email, however,
suggests otherwise.

First, Baril did not understand Trefler’s request as
something that could be fulfilled without accessing restricted
information -- such as an Appian trial. Nor did the other
executors of Teardown. Shortly after Trefler’s September 21,
2019, email, Baril wrote to Schuerman and Gil: “FYI - Alan
[Trefler] asked for an hour long demo of Appian. This is
currently impossible. My trial ended and the other system I was
using is no longer accessible. I'll work on finding another one
of [sic] getting another trial (involves registering a domain,
email etc.)” Compl. 9 72. A few days later, on September 27,
2019, Baril boasted to Schuerman and Gill: “My spies have
managed to get me another 15 day instance” of Appian’s platform.
Id. 7 73. Schuerman was pleased to hear that and answered:
“Awesome. So we have some stuff we can show Alan... .” Id.

Baril’s and Schuerman’s understanding of what Trefler’s
request entailed was conveyed to Trefler. On October 1, 2019,
Baril cautioned defendant Trefler that “Appian is very tightly

controlled about who has access to their trial environments,”

assuring him that he was “working to get a new instance so that

I can record some videos of their environment for you.” Id. V7

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75 (emphasis added). Trefler, however, is not alleged to have
ever sought to clarify Baril’s “misunderstanding” as to the
scope of his assignment, for example, by asking Baril not to
access restricted Appian trials.

Even after having gained access to restricted information,
Trefler’s appetite for Appian’s trade secrets was not yet
satisfied. Thus, in the following months, Trefler personally
met with Baril to provide “direction and feedback” and express
his “desire for [Pega] to have more technical - sort of deeper
dive technical details.” Id. 497 70, 78. Access to a restricted
Appian trial was not yet enough to satiate Trefler’s thirst for
“technical details” about Appian’s platform. If so, it is
difficult to conceive how publicly available information would
have been enough -- as Pega unpersuasively argues. The
allegations in the complaint suffice at this stage to raise a
compelling inference that Trefler was aware, involved, and
directed Pega’s corporate espionage into Appian.

Moreover, Trefler knew or was reckless in not knowing that
his and Pega’s statements posed a substantial danger to mislead
investors. One court has found that mere awareness of the
illegalities underlying a lawsuit against a corporation is not

enough to support scienter. City of Phila. v. Fleming Cos., 264

F.3d 1245, 1264 (10th Cir. 2001) (“[E]ven if we were to accept

as true Plaintiffs’ unsupported statements that . . . Defendants

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‘must have known’ both about the [lawsuit] and about the
‘fraudulent’ business practices forming the basis of that
lawsuit, the important issue in this case is not whether
Defendants knew the underlying facts, but whether Defendants
knew that [the alleged misstatements or omissions] posed
substantial likelihood of misleading a reasonable investor.”).
The securities defendants must have also been aware that their
statements posed a “substantial likelihood of misleading a
reasonable investor.” Id.

Here, however, there is little doubt that Trefler knew or
was reckless in not knowing that falsely reassuring investors
that Appian’s $3,000,000,000.00 claim against Pega had no merit
-- despite his knowledge to the contrary -- posed a “substantial
likelihood of misleading a reasonable investor.” As Trefler
knew, the relief sought in the Virginia Action amounted to
almost four times Pega’s current assets and roughly three times
Pega’s revenue in 2021. Compl. @ 174; Q4 2021 Pegasystems Inc.
Earnings Call, Exhibit 7, ECF No. 66, 3-4. A false denial of
Appian claims’ merit posed an obvious danger to mislead
investors as to the substantial financial risks Pega was facing
in connection with the Virginia Action. The same can be said of
Pega’s promise not to engage in the very conduct underlying the
Virginia Action, which caused the emergence of that financial

risk. Therefore, scienter is established as to defendant

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Trefler. The same is true for Pega -- to which Trefler’s

scienter is imputed. In re Boston Sci. Corp. Sec. Litig., No.

CV 20-12225-DPW, 2022 WL 17823837, at *2 (D. Mass. Dec. 20,
2022) (Woodlock, J.) (Automatically imputing scienter from the
defendant corporation’s CEO to the defendant corporation).

B. The Facts Alleged Are Insufficient to Establish that
Stillwell Acted with Scienter

Conversely, with respect to defendant Stillwell, the
allegations in the complaint are insufficient to establish
scienter. According to Fort Lauderdale, Stillwell must have
known of Pega’s corporate espionage given his position as Pega’s
CFO and corresponding obligation to conduct a reasonable
investigation into financial disclosures. Pls.’ Opp’n 23-4.
“Stillwell either performed the investigation properly, and
discovered Appian’s allegations had merit, or did not complete
the investigation and recklessly misapplied GAAP, and then
misled the market about Pega’s business successes,” Fort
Lauderdale argues. Id. 24. This, however, is mere speculation.
In fact, Fort Lauderdale’s argument is a mere extension of the
“scienter by status” theory, which has been uniformly rejected.

Lirette v. Shiva Corp., 27 F. Supp. 2d 268, 283 (D. Mass. 1998)

(inferences that defendants by virtue of their position within
company “must have known” about problems are “inadequate”).

Lacking scienter, Pega’s motion to dismiss with respect to

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defendant Stillwell is GRANTED. The statements attributed
solely to Stillwell, are therefore, not actionable.4

Cc. False and Misleading Statements

To survive a motion to dismiss, a securities complaint must
show that “defendants made a materially false or misleading
statement or omitted to state a material fact necessary to make

a statement not misleading.” Ganem v. InVivo Therapeutics

Holdings Corp., 845 F.3d 447, 454 (1st Cir. 2017) (quoting

Geffon v. Micrion Corp., 249 F.3d 29, 34 (lst Cir. 2001)). The

allegations in the complaint must meet the standard under
Federal Rule of Civil Procedure 9(b) and the “heightened
pleading requirements” imposed on private securities litigation.

Mississippi Pub. Employees’ Ret. Sys. V. Boston Scientific

Corp., 523 F.3d 75, 85 (lst Cir. 2008).

To plead falsity under the PSLRA, a plaintiff must “specify
each statement alleged to have been misleading [and] the reason
or reasons why the statement is misleading.” Hill v. Gozani,
638 F.3d 40, 55 (lst Cir. 2011) (alteration in original)
(quoting 15 U.S.C. § 78u-4(b)(1)). Information is material if a
“reasonable investor would have viewed it as having
significantly altered the total mix of information made

available.” Mississippi Pub. Employees’, 523 F.3d at 85

4 See Compl. FTI] 121, 122, 124, 125, 127, 132.
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(internal quotation marks and citation omitted). “(W]hether a
statement is ‘misleading’ depends on the perspective of a

reasonable investor.” Omnicare, Inc. v. Laborers Dist. Council

Const. Indus. Pension Fund, 575 U.S. 175, 186 (2015).

An omission can be misleading under Rule 10b-5 only where
there is an affirmative duty to disclose. See Basic

Inc. v. Levinson, 485 U.S. 224, 239 n.17 (1988) (‘“Silence,

absent a duty to disclose, is not misleading under Rule 10b-

5.”). Plaintiffs carry the burden of showing “that defendants
omitted to state a material fact necessary to make a

statement not misleading.” Ganem, 845 F.3d, 454

(quoting Geffon, 249 F.3d, 34). “[T]he mere possession of

Material, nonpublic information does not create a duty to

disclose it.” Hill, 638 F.3d, 57 (quoting

Cooperman v. Individual, Inc., 171 F.3d 43, 49 (lst Cir. 1999))

(cleaned up). Thus, “in order to get past ‘go’ on a motion to
dismiss, a plaintiff must first identify a statement made by
defendants, show how the omission rendered that statement
misleading, and finally establish that there was a duty to

disclose the omitted information.” Ponsa-Rabell v. Santander

Sec. LLC, 35 F.4th 26, 34 (lst Cir. 2022).

A. Pega Falsely Promised Investors Not to Misappropriate
Trade Secrets

One of the statements contained in Pega’s Code of Conduct

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(“Code”) is actionable. Compl. 99 151-7. Particularly, Pega

assured investors® in its Code of Conduct that it would:
Never use illegal or questionable means to acquire a
competitor’s trade secrets or other confidential
information, such as .. . seeking confidential
information from a new employee who recently worked
for a competitor, or misrepresenting your identity in
hopes of obtaining confidential information.

Id. 4 154 (the “Code of Conduct Statement”). As seen in the

scienter section, this is exactly what is properly alleged to

have happened here.® Thus, the Code of Conduct Statement is

objectively false. Retail Wholesale & Dep’t Store Union Local

338 Ret. Fund v. Hewlett-Packard Co., 845 F.3d 1268, 1277 (9th

Cir. 2017) (falsity may be shown where statements “could [be]
understood as at least promising specifically not to do what had

been done.”); Construction Laborers Pension Tr. For S. Cal. v.

CBS Corp., 433 F. Supp. 3d 515, 532 (S.D.N.Y. 2020) (statements

may be actionable when they are “so anathema to the alleged

5 Pega’s Code of Conduct was specifically directed to
investors. In its 2020 and 2021 10-Ks, Pega assured investors
that it had “adopted a written code of conduct that applies to
our Board of Directors and employees, including our principal
executive officer, principal financial officer, principal
accounting officer, and persons performing similar functions.”
Compl. 7 149. It also stated that “[a] copy of our code of
conduct can be found on our website, www.pega.com,” and that
“[oJur Code of Conduct is available on our website in the
‘Governance’ section.” Compl. @ 148. Pega’s Code was publicly
available on Pega’s website during the Class Period. Id. 7 149.

6 While Zou was not a new employee who recently worked for
Appian but an employee of a third-party contractor with open
access to Appian’s platform, this Court rules this difference
immaterial.

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internal wrongdoing that, even if general or aspirational, they
[are] materially false.”).

Pega insists that the Code of Conduct Statement is not
actionable because it is “aspirational” and, in any event, only
a “handful” of Pega employees participated in the conspiracy.
Defs.’ Reply 19. Neither argument is persuasive.

First, the Code of Conduct Statement is not “aspirational.”
Instead, it describes with specificity a course of conduct that
Pega promised to abjure. Courts have found similarly specific

statements to be actionable. See Nykredit Portefolje Admin. A/S

v. ProPetro Holding Corp., 2021 WL 9037758, at *17 (W.D. Tex.

Sept. 13, 2021) (“Because ProPetro’s Code of Ethics specifies
practices the company purports to adopt .. . these statements

are actionable.”); In re Tenaris S.A. Sec. Litig., 493 F. Supp.

3d 143, 159 (E.D.N.Y. 2020) (Finding the code of conduct
statement: “{the company] will not condone, under any
circumstances, the offering or receiving of bribes or any other
form of improper payments” to be actionable).

Second, far from involving just “a few bad apples,” Pega’s
espionage campaign was organized and directed by the very “nerve

center” of the organization.’ Among the architects of the

7 According to the complaint, Pega’s espionage campaign
against Appian involved: Pega’s CEO (Alan Trefler), CTO (Don
Schuerman), CMM (Leon Trefler), CPO (Kerim Akgonul), Director of
Product Marketing (John Petronio), Director of the office of the

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conspiracy were not only Pega’s CTO (Don Schuerman), CMM (Leon
Trefler), and CPO (Kerim Akgonul), but also Trefler, Pega’s
Chairman, founder, CEO, and moral compass. Compl. 7 155 (Pega’s
Code assured investors that “[i]f any of [(Pega’s employees] are
asked to depart from this Code, whether by our supervisor,
another employee or anyone else, we agree to seek clarification
and/or guidance as to the propriety of the actions in question
from our Chief Executive Officer.”). In addition, Pega did not
discipline the participants of the conspiracy. Compl. 9 99; See
CBS, 433 F. Supp. 3d at 535 (allegations the defendant
corporation “took no action at all in the face of blatant and
pervasive violations of its [Code of Conduct]” may suffice);

Cheng v. Activision Blizzard, Inc., 2022 WL 2101919, at *9 (C.D.

Cal. Apr. 18, 2022) (same). Rather, it encouraged and rewarded
their malfeasance through cash bonuses. Compl. @ 104. In
short, Pega’s most senior executives orchestrated and directed
the conspiracy while fostering a corporate culture that promoted
and harbored precisely the kind of behavior that Pega promised

investors it would prohibit. In re Signet Jewelers Ltd. Sec.

CTO (Ben Baril), Head of Product Marketing (Douglas Kim), Vice
President of Product Management (Steve Bixby), a Solutions
Consulting Manager (Michael Fine), a Solutions Engineer (Peter
Bessman), a Director of Case Management (Vijay Krishna Potluri),
a Product Manager (Arun Kumar Sarada), a member of Pega’s go-to-
market strategy group (Keith Fairbrother), a Senior Product
Manager (Vijay Vaddem), and a Solutions Consultant (Eric Davis).
Compl. 91 8, 53-56, 82-96.

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Litig., 2018 WL 6167889, at *17 (S.D.N.Y. Nov. 26, 2018)
(Statements in code of conduct are actionable where evidence
submitted in another litigation demonstrated “pervasive” culture
of harassment involving “senior executives” and “directly at
odds” with code of conduct.). Therefore, Pega’s Code of Conduct
Statement is actionable.

B. Trefler and Pega Misleadingly Reassured Investors that
Appian’s Claims Were “Without Merit”

When Pega first specifically disclosed the Virginia Action,
Trefler reassured investors that he believed Appian’s claims
were “without merit.” Compl. @ 145. This is an actionable
opinion statement. Omnicare, 575 U.S. 175, 189. (liability is
established if a statement “omits material facts about the
issuer’s . . . knowledge concerning a statement of opinion, and
if those facts conflict with what a reasonable investor would
take from the statement itself.”). A reasonable investor
“expects not just that the issuer believes the opinion (however
irrationally), but that it fairly aligns with the information in
the issuer's possession at the time.” Omnicare, 575 U.S. 175,
189. Trefler’s statement that Appian’s claims were “without
merit” did not “fairly align” with his awareness of, involvement
in, and direction of Pega’s espionage campaign against Appian.
Moreover, Trefler was not only aware of “some fact{s] cutting

the other way” -- such as a “single junior attorney express[ing]

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doubts about a practice’s legality, when six of his more senior
colleagues gave a stamp of approval.” Id. 4f@ 189-90. Rather,
his involvement and direction of the conspiracy “callf[s] into
question [{Trefler]’s basis for offering the opinion” that
Appian’s claims were “without merit.” Id. @ 191.

Trefler’s decision to single out his denial of Appian’s
claims from his belief that Pega possessed “strong defenses”
against those claims further reinforces this conclusion.
Omnicare, 575 U.S. 175, 190 (“[W]hether an omission makes an
expression of opinion misleading always depends on context.”).
The full statement signed by Trefler was that Appian’s claims
“are without merit,” Pega has “strong defenses to these claims,”
and that “any alleged damages claimed by Appian are not
supported by the necessary legal standard.” Compl. @ 145.

Given the way that statement was couched and the identity of the
speaker, a reasonable investor could justifiably have understood
Trefler’s message that Appian’s claims were “without merit” as a
denial of the facts underlying Appian’s claims -- as opposed to
a mere statement that Pega had legal defenses against those
claims.

This does not mean that Pega was under the obligation to

“confess to the wrongdoing” when it disclosed the Virginia

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Litigation.® Pls.’ Opp’n 8. An issuer may legitimately oppose a
claim against it, even when it possesses subjective knowledge
that the facts underlying the claims against it are true. When
it decides to do so, however, it must do so with exceptional
care, so as not to mislead investors. For example, an issuer
may validly assert its intention to oppose the lawsuit. See In

re SeaChange Int'l, Inc., 2004 WL 240317, at *7-9 (D. Mass. Feb.

6, 2004) (Woodlock, J.) (ruling the “general descriptive”
statement “[w]le cannot be certain of the outcome of the
foregoing litigation, but do plan to oppose the allegations
against us and assert our claims against the other parties
vigorously” inactionable, even “assuming knowledge” of the
conduct underlying the litigation). It may also state that it
has “substantial defenses” against it, if it reasonably believes

that to be true. See Hall v. Johnson & Johnson, 2019 WL

7207491, at *19 (D.N.J. Dec. 27, 2019) (statements about
“substantial defenses” to asbestos litigation inactionable
because “even assuming as true that there was asbestos in [the

products], the Company may very well have [had] defenses to the

8 In this respect, this Court is not persuaded by the
holding in Cambridge Ret. Sys. v. Jeld-Wen Holding, Inc., 496 F.
Supp. 3d 952, 9663 (E.D. Va. 2020) cited by Fort Lauderdale
(“[Defendant] protests that it need not ‘confess to the
wrongdoing alleged in [another case] while that litigation was
ongoing.’ But Singer [v. Reali, 883 F.3d 425 (4th Cir. 2018) ]
requires just that.”).

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lawsuits premised on other bases such as lack of causation, or

procedural issues occurring at trial.”). An issuer may not,
however, “ma[ke] [(misleading)] substantive declarations
regarding its beliefs about the merits of the . . . litigation.”

Rosenbaum Cap. LLC v. Bos. Commc'ns Grp., Inc., 445 F. Supp. 2d

170, 175 (D. Mass. 2006) (emphasis added); see also, a

contrario, Hall v. Johnson & Johnson, No. CV 18-1833 (FLW), 2019

WL 7207491, at *19 (D.N.J. Dec. 27, 2019) (Dismissing the
complaint because “Plaintiff has not identified any specific
facts indicating that any of the Defendants possessed
information regarding the viability of the lawsuits against the
Company.”). Here, Trefler and Pega categorically denied that
Appian’s claims had any merit -- despite possessing substantial
information about the viability of those claims. Terfler’s and
Pega’s opinion statement that Appian’s claims were “without

merit” was, therefore, misleading.?

9 The parties also devoted a considerable portion of their
pleadings to arguing whether Pega’s failure to expressly mention
the Virginia Action in its S.E.C. filings before February 16,
2022, violated GAAP Rule ASC 450 and S.E.C. Regulation S-K, Item
103. Having found that Pega and Trefler knowingly made false
and misleading statements and given the fact-intensive nature of
that question, this Court prefers not to express a definitive
view on the issue at this stage. See, e.g., In re Ambac Fin.
Grp., Inc. Sec. Litig., 693 F. Supp. 2d 241, 273 (S.D.N.Y. 2010)
(“The parties’ disagreements over GAAP compliance also raise
issues of fact that cannot be resolved on a motion to
dismiss.”). This Court adopts the same approach with respect to
Trefler’s statements concerning Pega’s competitiveness and
credibility. Compl. {7 123, 129, 130.

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D. Fort Lauderdale Adequately Alleged Loss Causation
Fort Lauderdale adequately alleged loss causation -- l.e.,
“a causal connection between the material misrepresentation and

the loss.” Massachusetts Ret. Sys. v. CVS Caremark Corp., 716

F.3d 229, 237 (lst Cir. 2013). Pega concealed from the market
its corporate espionage against Appian, while falsely reassuring
investors that it would never misappropriate trade secrets.
Compl. @ 154. After Appian sued and the existence of the
Virginia Action was disclosed, Pega continued misleading
investors stating that the claims against were “without merit.”
Id. 4 145. As the truth finally emerged carrying with it a
multi-billion-dollar judgment, Pega’s stock fell dramatically.
Id. 7 244. Unsurprisingly, market analysts tied that drop in
stock to the verdict and Pega’s misappropriation of trade
secrets. Id. 4 245. In fact, it is apparent that Pega’s
disclosure of the verdict “relate[s] to the same subject matter

as the alleged misrepresentation[s].” Massachusetts Ret. Sys.,

716 F.3d at 240. Accordingly, Fort Lauderdale has sufficiently
alleged loss causation at this stage.

Pega’s arguments to the contrary are unavailing. According
to Pega, the investors were sufficiently made aware of the risks
connected with the Virginia Action through its S.E.C.
disclosures in February 2022. Defs.’ Reply. 20. This was not

the case. Pega’s February 2022 “disclosure” cannot shield Pega

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from liability because it misleadingly represented to investors
that Appian’s claims were “without merit.” Moreover, Pega’s
argument that the public information present in the market about
the Virginia Action was sufficient per se to make investors
aware of the risks connected with purchasing Pega stocks amounts
to a “truth-on-the-market” defense -- which is not appropriate

at this stage. In re Credit Suisse v. AOL Sec. Litig., 465 F.

Supp. 2d 34, 51 (D. Mass. 2006) (Gertner, J.) (“‘*{t]he truth on
the market defense is intensely fact-specific and is rarely an
appropriate basis for dismissing a §10(b) complaint’”).
Therefore, Pega’s loss causation argument fails.
Vv. CONCLUSION

For the foregoing reasons, this Court on May 17, 2023
DENIED Pega’s motion to dismiss (ECF No. 64) with respect
Defendants Pega and Trefler. Regarding Defendant Stillwell,
Pega’s motion (ECF No. 64) is today GRANTED WITHOUT PREJUDICE.

SO ORDERED.

JUDG
of the
UNITED STATES?°

Marr Af

10 This is how my predecessor, Peleg Sprague (D. Mass. 1841-
1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 45 years.

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